       Case: 3:19-cv-01007-wmc Document #: 16 Filed: 01/24/20 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN

DRIFTLESS AREA LAND CONSERVANCY
and WISCONSIN WILDLIFE FEDERATION,                     No. 19-cv-1007

                   Plaintiffs,

       v.

MICHAEL HUEBSCH, REBECCA VALCQ,
ELLEN NOWAK, and PUBLIC SERVICE
COMMISSION OF WISCONSIN,

                   Defendants.

     INTERVENOR-DEFENDANTS AMERICAN TRANSMISSION COMPANY LLC,
         DAIRYLAND POWER COOPERATIVE, AND ITC MIDWEST LLC’S
             JOINT NOTICE OF MOTION AND MOTION TO DISMISS
                PURSUANT TO FED. R. CIV. P. 12(b)(1) and 12(b)(6)

       Pursuant to FED. R. CIV. P. 12(b)(1) and 12(b)(6), Intervenor-Defendants American

Transmission Company, LLC, by its corporate manager ATC Management Inc. (“ATC”),

Dairyland Power Cooperative (“Dairyland”), and ITC Midwest LLC (“ITC Midwest”)

(collectively, the “Co-Owners”) respectfully move this Court to dismiss the Complaint (ECF No.

1, “Compl.”) filed by the Driftless Area Land Conservancy (“DALC”) and the Wisconsin

Wildlife Federation (“WWF”) (collectively, the “Plaintiffs”) in the above-captioned matter. The

grounds for this motion (the “Motion”) are set forth in greater detail in the brief in support of the

Motion, which is being filed concurrently herewith. The Co-Owners respectfully request that the

Court permit each of the Co-Owners to address the Court at a hearing on the Motion, to the

extent that one is held, at a time and date to be set by the Court.
       Case: 3:19-cv-01007-wmc Document #: 16 Filed: 01/24/20 Page 2 of 3



Dated: January 24, 2020

Respectfully submitted,

 PERKINS COIE, LLP                              FREDRIKSON & BYRON, P.A.

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 Attorneys for Intervenor-Defendant Dairyland
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       Case: 3:19-cv-01007-wmc Document #: 16 Filed: 01/24/20 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that on January 24, 2020, I electronically served the forgoing document

on all counsel of record registered for electronic filing in the above-captioned proceeding by

filing the same with the Clerk of Court using the Court’s ECF system.



                                                     /s/ Brian H. Potts
                                                     Brian H. Potts, SBN 1060680

                                                     Attorney for Intervenor-Defendants
                                                     American Transmission Company LLC and
                                                     ATC Management Inc.
